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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

 DEEP SOUTH TODAY, et al.,

                                     PLAINTIFFS,

        v.                                           Civil Action No. 3:24-cv-00623

 ELIZABETH B. MURRILL, et al.,                       Judge: JWD - SDJ

                                   DEFENDANTS.


    DEFENDANTS’ MOTION TO DISMISS AND OPPOSITION TO PLAINTIFFS’
              MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), Defendants Attorney

General Elizabeth Murrill, Colonel Robert Hodges, and District Attorney Hillar Moore, III, move for

dismissal of Plaintiffs’ claims (Counts I, II, and III) in Plaintiffs’ Complaint, ECF No. 1, for the

reasons stated in their attached Memorandum of Law.

 Dated: October 15, 2024                        Respectfully submitted,


                                                 /s/ Caitlin Huettemann
                                                CAITLIN HUETTEMANN (La #40402)
                                                 Assistant Solicitor General
                                                ZACHARY FAIRCLOTH (La #39875)
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                                                Counsel for Defendants Liz Murrill, in her official capacity
                                                as Attorney General of Louisiana, Robert P. Hodges, in his
                                                official capacity as Superintendent of the Louisiana State
                                                Police, and Hillar C. Moore, III, in his official capacity as
                                                District Attorney of East Baton Rouge Parish



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                                  CERTIFICATE OF SERVICE

       I hereby certify that on October 15, 2024, pursuant to Federal Rule of Civil Procedure

5(b)(2)(C) and Local Rule 5(e)(2), a true and correct copy of the foregoing Motion, and all attachments

thereto, was served by CM/ECF.

                                                 Respectfully submitted,


                                                  /s/ Caitlin Huettemann
                                                 CAITLIN HUETTEMANN (La #40402)
                                                  Assistant Solicitor General
                                                 ZACHARY FAIRCLOTH (La #39875)
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                                                 Counsel for Defendants Liz Murrill, in her official capacity
                                                 as Attorney General of Louisiana, Robert P. Hodges, in his
                                                 official capacity as Superintendent of the Louisiana State
                                                 Police, and Hillar C. Moore, III, in his official capacity as
                                                 District Attorney of East Baton Rouge Parish




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